                                                                                  Case 4:07-mc-80096-PJH Document 11 Filed 04/13/07 Page 1 of 2



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                                                                         5                                     UNITED STATES DISTRICT COURT
                                                                         6                                    NORTHERN DISTRICT OF CALIFORNIA
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                                                                         8    DISCOVER FINANCIAL SERVICES, INC.,                     No. C-07-80096 MISC PJH (EMC)
                                                                         9                       Plaintiff,
                                                                         10           v.                                             ORDER GRANTING IN PART AND
                                                                                                                                     DENYING IN PART PLAINTIFF’S
United States District Court




                                                                         11   VISA U.S.A., INC., et al.,                             MOTION TO FILE UNDER SEAL
                               For the Northern District of California




                                                                         12               Defendants.
                                                                              ___________________________________/
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                                                                         15           Plaintiff has filed a motion to compel compliance with a subpoena duces tecum by nonparty
                                                                         16   Edgar, Dunn & Company (“EDC”). Plaintiff asks that the entire motion be filed under seal.
                                                                         17   Plaintiff further asks that the Nyhan declaration in support, and all exhibits attached thereto, be filed
                                                                         18   under seal. According to Plaintiff, the motion, declaration, and exhibits should be filed under seal
                                                                         19   because they contain information designated confidential by Defendant MasterCard.
                                                                         20           Pursuant to Civil Local Rule 79-5, EDC submitted a declaration in support of its contention
                                                                         21   that certain information contained in the motion, declaration, and exhibits is confidential. The Court
                                                                         22   has reviewed all papers submitted and hereby GRANTS in part and DENIES in part the request to
                                                                         23   file under seal.
                                                                         24           The Court orders the Clerk of the Court to file under seal the documents submitted by
                                                                         25   Plaintiff -- i.e., both the motion and the Nyhan declaration and exhibits attached thereto. However,
                                                                         26   because not all information contained in the motion and exhibits is confidential, the Court orders
                                                                         27   Plaintiff to publicly file (1) a redacted version of the motion and (2) all exhibits attached to the
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                                                                         1    Nyhan declaration except for Exhibits 16, 18, 19, and 20.1 The filing shall be completed within a
                                                                         2    week of the issuance of this order.
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                                                                         4           IT IS SO ORDERED.
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                                                                         6    Dated: April 13, 2007
                                                                         7                                                            _________________________
                                                                                                                                      EDWARD M. CHEN
                                                                         8                                                            United States Magistrate Judge
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United States District Court




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                               For the Northern District of California




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                                                                                         Plaintiff has already publicly filed a revised Exhibit 2. See Docket No. 9.



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